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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 JANE DOE,                                          §
 Plaintiff                                          §
                                                    §
 vs.                                                §       Case No. SA-21-CV-00369-XR
                                                    §
 KERRVILLE INDEPENDENT SCHOOL                       §
 DISTRICT,                                          §
 Defendant


                               AMENDED SCHEDULING ORDER

        The disposition of this case will be controlled by the following order. If a deadline set in
this order falls on a weekend or a holiday, the effective day will be the next business day.

        WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

        The deadline for filing Rule 26(a)(3) disclosures is December 22, 2023.

       The deadline for filing objections under Rule 26(a)(3) is January 5, 2024. Any objections
not made will be deemed waived.

        JOINT PRETRIAL ORDER AND MOTION IN LIMINE

        The deadline to file a Final Joint Pretrial Order and any motion in limine is January 19,
2024.

       All attorneys are responsible for preparing the Final Joint Pretrial Order, which must
contain the following:

        (1) a short statement identifying the Court’s jurisdiction. If there is an unresolved
        jurisdictional question, state it;

        (2) a brief statement of the case, one that the judge could read to the jury panel for an
        introduction to the facts and parties;

        (3) a summary of the remaining claims and defenses of each party;

        (4) a list of facts all parties have reached agreement upon;

        (5) a list of contested issues of fact;

        (6) a list of the legal propositions that are not in dispute;

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       (7) a list of contested issues of law;

       (8) a list of all exhibits expected to be offered. Counsel will make all exhibits available for
       examination by opposing counsel. All documentary exhibits must be exchanged before the
       final pre-trial conference. The exhibit list should clearly reflect whether a particular exhibit
       is objected to or whether there are no objections to the exhibit;

       (9) a list of the names and addresses of witnesses who may be called with a brief statement
       of the nature of their testimony;

       (10) an estimate of the length of trial;

       (11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b) a
       proposed charge, including instructions, definitions, and special interrogatories, with
       authority;

       (12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed conclusions
       of law, with authority;

       (13) the signatures of all attorneys; and

       (14) a place for the date and the signature of the presiding judge.

       FINAL PRETRIAL CONFERENCE

       The Final Pretrial Conference shall be held on Tuesday, January 30, 2024 at 10:30 a.m.

        Motions in limine, if any, will be heard on this date. Counsel should confer prior to this
hearing on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending
to use a demonstrative exhibit should provide the same to opposing counsel at least 3 days prior to
the Final Pretrial conference so that if any objections or issues are raised about the demonstrative
exhibit, they can be addressed at the final pretrial conference.

       TRIAL

       The Jury Trial Date is Monday, February 12, 2024 at 9:00 a.m.




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It is so ORDERED.

SIGNED this November 27, 2023




                                _________________________________
                                XAVIER RODRIGUEZ
                                UNITED STATES DISTRICT JUDGE




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